      Case 1:16-cv-01094-PJG ECF No. 3 filed 09/14/16 PageID.12 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 KEITH ALLARD, and
 BENJAMIN GRAHAM,

             Plaintiffs,                             Hon. Gordon J. Quist

 v.                                                  Case No. 1:15-cv-1259

 MICHIGAN HOUSE OF
 REPRESENTATIVES,

            Defendant.
 _________________________________/


 CINDY GAMRAT,

             Plaintiff,
                                                     Hon. Robert J. Jonker
 v.
                                                     Case No. 1:16-cv-1094
 EDWARD MCBROOM, et al.,

            Defendants.
 _________________________________/

                     NOTICE OF FINDINGS AND
             RECOMMENDATIONS REGARDING RELATED CASES

       On December 7, 2015, Keith Allard and Benjamin Graham filed suit alleging

violations of their constitutional rights, 42 U.S.C. § 1983, as well as several state-law

claims. (Case No. 1:15-cv1259, ECF No. 1). Both men were employed as staff members

to former State Representatives Todd Courser and Cindy Gamrat. Mr. Courser and Ms.

Gamrat left office following allegations of official misconduct.1


             Ms. Gamrat was expelled by the House of Representatives, and Mr.
             1

Courser resigned prior to the House vote.
     Case 1:16-cv-01094-PJG ECF No. 3 filed 09/14/16 PageID.13 Page 2 of 3



      Plaintiffs Allard and Graham claim, among other things, that they were fired by

Tim Bowlin, director of the House Business Office, and suffered other injury in retaliation

for exercising their First Amendment rights, after they communicated their concerns

about Mr. Courser and Ms. Gamrat to the leadership of the House of Representatives.

They also claim to have suffered injury by the release of personal information in the House

Business Office’s Report on the Investigation of Alleged Misconduct by Representative

Todd Courser and Representative Cindy Gamrat (“the House Business Office Report”).

      Cindy Gamrat, pro se, filed a complaint on September 8, 2016, against the Michigan

House of Representatives, as well as a number of individuals, including Tim Bowlin.

(Case No. 1:16-cv-1094, ECF No. 1). Ms. Gamrat claims that Mr. Bowlin denied her an

adequate opportunity to review the 833-page House Business Office Report prior to the

House Select Committee hearing, in violation of her Fourteenth Amendment due process

rights. She also claims that she was defamed by statements contained in the House

Business Office Report.2




             2
              On the same date Ms. Gamrat filed her complaint, Mr. Courser filed a
182-page, 22-count complaint against the Michigan House of Representatives and a
number of other entities and individuals, including Keith Allard, Benjamin Graham,
and Tim Bowlin. (Todd Courser v. Keith Allard, et al., Case No. 1:16-cv-1108, ECF
No. 1 (Courser)). Mr. Courser claims, among other things, violations of his civil and
constitutional rights, 42 U.S.C. §§ 1983, 1985, relating to the events leading to his
resignation from the House of Representatives. The complaint cites Keith Allard and
Benjamin Graham v. Michigan House of Representatives, Case No. 1:15-cv-01259-GJQ,
as a related case. (See Courser, Case No. 1:16-cv-1108, ECF No. 1, PageID.2). After
the undersigned judicial officer confirmed that the two cases are related, under W.D.
MICH. LCIVR 3.3.1(d)(iii)(A), the Courser case was assigned to Judge Quist. (Id., ECF
No. 4).
                                            -2-
    Case 1:16-cv-01094-PJG ECF No. 3 filed 09/14/16 PageID.14 Page 3 of 3



      Having reviewed the complaints in each of the above-captioned cases, I find that

they fall within the ambit of the related case rule in that they “arise out of the same

transaction or occurrence and involve[] one or more of the same parties.” W.D. MICH.

LCIVR 3.3.1(d)(iii)(A). Accordingly, I recommend that both cases be assigned to the same

District Judge who is assigned to the earliest case; here, Judge Quist. See W.D. MICH.

LCIVR 3.3.1(d)(iii)(B).   I further recommend that Chief Judge Jonker issue an

administrative order effecting the reassignment of Cindy Gamrat v. Edward McBroom,

et al., Case No. 1:16-cv-1094, to Judge Quist.



Date: September 14, 2016                             /s/ Phillip J. Green
                                                    PHILLIP J. GREEN
                                                    United States Magistrate Judge




                                            -3-
